

Per Curiam.

Defendant offered to prove that the regulation was unreasonable. This was his sole defense. The Trial Judge refused to permit this proof on the mistaken ground that he lacked the power to determine the reasonableness of the traffic regulation.
While the restriction involved seems at first blush perfectly reasonable to us, we cannot say that defendant had his day in court. Under the circumstances, section 542 of the Code of Criminal Procedure has no application (People v. Savvides, 1 N Y 2d 554; People v. Gerdvine, 210 N. Y. 184) and the interests of justice require a new trial.
Kozioke, P. J., Silver and Rossbach, JJ., concur.
Judgment reversed, etc.
